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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES                                                            Case No.

                                                                          22-cr-15

                  v.

                                                                  Assigned to the Honorable
                                                                    Judge Amit Mehta
KENNETH HARRELSON

                           Defendant.


                                    NOTICE OF JOINDER

       Defendant, Kenneth Harrelson, by and through his undersigned counsel, Bradford L.

Geyer, Esq., hereby gives notice that he adopts and joins:

       ECF No. 420: MOTION for Acquittal , MOTION for New Trial by THOMAS

EDWARD CALDWELL. (Fischer, David) (Entered: 12/11/2022);

       ECF No. 434: MOTION for New Trial by KELLY MEGGS as to ELMER STEWART

RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS

EDWARD CALDWELL. (Attachments: # 1 Text of Proposed Order)(Woodward, Stanley)

(Entered: 12/23/2022);

       ECF No. 462: REPLY TO OPPOSITION to Motion by KELLY MEGGS as to ELMER

STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,

THOMAS EDWARD CALDWELL re 432 Joint MOTION for Judgment NOV judgment of

acquittal, 435 Joint MOTION for Leave to File Amended Memorandum in Support of

Defendants R 29 Motion for Acquittal , REPLY in Support by KELLY MEGGS as to ELMER


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STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,

THOMAS EDWARD CALDWELL re 435 Joint MOTION for Leave to File Amended

Memorandum in Support of Defendants R 29 Motion for Acquittal (Haller, Juli) (Entered:

01/24/2023)

       ECF No. 463: REPLY in Support by KELLY MEGGS as to ELMER STEWART

RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS

EDWARD CALDWELL re 434 MOTION for New Trial Jointly filed (Haller, Juli) (Entered:

01/24/2023)

       ECF No. 477: MOTION for Leave to File Memorandum in Support of Rule 29 motion by

EDWARD VALLEJO. (Attachments: # 1 Attachment - Vallejo Memorandum in Support of Rule

29 Motion, # 2 Text of Proposed Order)(Peed, Matthew) (Entered: 02/28/2023);

       ECF No. 478: MOTION pursuant to Rule 33 for new trial by ROBERTO A. MINUTA.

(Shipley, William) (Entered: 03/02/2023);

       ECF No. 479: MOTION for Acquittal by ROBERTO A. MINUTA. (Shipley, William)

(Entered: 03/02/2023);

       ECF No. 521: NOTICE of New Authority and Supplemental Argument as to Caldwell's

Motions for Judgment of Acquittal and New Trial by THOMAS EDWARD CALDWELL

re 434 MOTION for New Trial , 432 Joint MOTION for Judgment NOV judgment of

acquittal (Fischer, David) (Entered: 04/13/2023);




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       ECF 541, Defendant Thomas Caldwell’s Reply to Government’s Response to

Defendant’s Notice of New Authority.




Dated: June 4, 2023                RESPECTFULLY SUBMITTED

                                   KENNETH HARRELSON, By Counsel

                                   /s/ Brad Geyer

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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 4, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
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